            Case 2:07-cr-00302-GEB Document 53 Filed 12/07/07 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MAURICE GODFREY
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,           )
                                         )   NO. CR.S-07-302-GEB
12                Plaintiff,             )
                                         )   STIPULATION AND ORDER;
13    v.                                 )   EXCLUSION OF TIME
                                         )
14   MAURICE GODFREY,                    )   Date: December 14, 2007
                                         )   Time: 9:00 a.m.
15               Defendant.              )   Judge: Hon. Garland E. Burrell, Jr.
     _____________________________       )
16
17         IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, KEN MELIKIAN, Assistant United States

19   Attorney, attorney for Plaintiff, and RACHELLE BARBOUR, Assistant
20   Federal Defender, attorney for Defendant, that the status conference
21   hearing date of December 7, 2007 be rescheduled for December 14, 2007
22
     at 9:00 a.m. with anticipation that there will be a change of plea on
23
     that date.
24
           This continuance is requested as the government is finalizing a
25
     written plea agreement to present to the defense.          The government has
26
     also indicated that there is additional discovery for the defense to
27
28   review prior to a change of plea.       This request does not affect Mr.
           Case 2:07-cr-00302-GEB Document 53 Filed 12/07/07 Page 2 of 2


 1   Godfrey’s co-defendants.
 2        Accordingly, all counsel and the defendant agree that time under
 3   the Speedy Trial Act from the date this stipulation is lodged, through
 4
     December 14, 2007, should be excluded in computing the time within
 5
     which trial must commence under the Speedy Trial Act, pursuant to Title
 6
     18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 7
                                                  Respectfully submitted,
 8
                                                  DANIEL J. BRODERICK
 9
                                                  Federal Defender
10
11
     DATED: December 6, 2007                      /s/ RACHELLE BARBOUR
12                                                RACHELLE BARBOUR
                                                  Assistant Federal Defender
13                                                Attorney for Defendant
                                                  MAURICE GODFREY
14
15
                                                  McGREGOR SCOTT
16                                                United States Attorney

17
18   DATED: December 6, 2007                      /s/ RACHELLE BARBOUR
                                                  KEN MELIKIAN
19                                                Assistant U.S. Attorney
                                                  Attorney for Plaintiff
20
21
                                       O R D E R
22
          IT IS SO ORDERED. Time is excluded and the hearing continued on
23
     the dates and upon the grounds set forth above in the interests of
24
     justice pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
25
26
     DATED: December 7, 2007
27
28                                          GARLAND E. BURRELL, JR.
                                            United States District Judge

                                            2
